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                                        Entity Name: International Shipholding Corporation (Consolidating)
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Monthly Operating Report - Post Confirmation - Southern District of New York
Attachment 1
Reporting Period: March 2020

QUESTIONNAIRE
                                                                                                              YES*       NO
1.     Have any assets been sold or transferred outside the normal course of business, or outside the                            X
       Plan of Reorganization during this reporting period?
2.     Are any post-confirmation sales or payroll taxes past due?                                                                X

3.     Are any amounts owed to post-confirmation creditors/vendors over 90 days delinquent?                                      X

4.     Is the Debtor current on all post-confirmation plan payments?                                                X

           * All payments for the first quarter of 2020 are represented in Attachment 2.

        *If the answer to any of the above questions is "YES," provide a detailed explanation of each item on a separate sheet.




INSURANCE INFORMATION
                                                                                                              YES        NO*
1.     Are real and personal property, vehicle/auto, general liability, fire, theft, worker's compensation,         X
       and other necessary insurance coverages in effect?
2.     Are all premium payments current?                                                                            X

        *If the answer to any of the above questions is "NO," provide a detailed explanation of each item on a separate sheet.




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Monthly Operating Report - Post Confirmation - Southern District of New York
Attachment 1
Reporting Period: March 2020

Confirmation of Insurance
               Coverage Type                                        Insurer                                      Policy Term                 Payment Amount                                           Frequency       Delinquency Amount

Marine Hull Package Insurance                Navigators Insurance Company (Lead)                                   6/27/2016                 $    1,197,133                                             Annual        $              -
                                                                                                                       to




                                                                                                                                                                              16-12220-smb
                                                                                                                   6/26/2017
Marine Hull Package Insurance                AON (Seacor purchased policy under ISH slip for the                   6/27/2017                         22,959
                                             stub period)                                                              to
                                                                                                                    7/3/2017
Protection & Indemnity insurance (includes   The Standard Club Europe Ltd                                          2/20/2017                      1,265,691                                          5 installments                  -
contractual liability)                                                                                                 to
                                                                                                                   2/19/2018
State Act Workers’ Compensation              Manufacturers Alliance Insurance Company (PMA                          5/1/2016                         69,124                                             Annual                       -




                                                                                                                                                                              Doc 1145
                                             Group) through American Equity Underwriters, Inc.                         to
                                                                                                                    5/1/2017
State Act Workers’ Compensation              Manufacturers Alliance Insurance Company (PMA                          5/2/2017                          6,250
                                             Group) through American Equity Underwriters, Inc.                         to
                                                                                                                    7/3/2017
USL& HW Act and Incidental Non Owned         American Longshore Mutual Association Ltd (                            5/1/2016                         42,445                                             Annual                       -




                                                                                                                                                          Filed 04/15/20 Entered 04/15/20 11:10:22
Maritime Employers Liability                 "ALMA") through American Equity Underwriters, Inc.                        to
                                                                                                                    5/1/2017
USL& HW Act and Incidental Non Owned         American Longshore Mutual Association Ltd (                            5/2/2017                          3,837                                                                          -
Maritime Employers Liability                 "ALMA") through American Equity Underwriters, Inc.                        to
                                                                                                                    7/3/2017




                                                                                                                                                                     Pg 3 of 10
Foreign Liability                            Insurance Company of the State of PA                                   5/1/2016                         10,801                                             Annual                       -
                                                                                                                       to
                                                                                                                    5/1/2017
Foreign Liability                            Insurance Company of the State of PA                                  5/2/2017                            977                                                                           -
                                                                                                                      to
                                                                                                                   7/3/2017
Spain Admitted General Liability             AIG Europe Limited                                                    5/1/2016                           3,185                                             Annual                       -
                                                                                                                      to
                                                                                                                   5/1/2017
Spain Admitted General Liability             AIG Europe Limited                                                    5/2/2017                            288                                                                           -
                                                                                                                      to
                                                                                                                   7/3/2017
Defense Base Act                             Ins Co of the State of PA thru AIG                                    5/1/2016                           5,000                                             Annual                       -
                                                                                                                      to
                                                                                                                   5/1/2017




                                                                                                                                                                              Main Docum
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Monthly Operating Report - Post Confirmation - Southern District of New York
Attachment 1
Reporting Period: March 2020

Confirmation of Insurance
               Coverage Type                                      Insurer                                      Policy Term                 Payment Amount                                          Frequency   Delinquency Amount

Defense Base Act                           Ins Co of the State of PA thru AIG                                    5/2/2017                            452
                                                                                                                    to




                                                                                                                                                                            16-12220-smb
                                                                                                                 7/3/2017
Property, Electronic Data Processing       AmRisc panel of underwriters:                                                                           79,651                                           Annual                    -
Equipment, Business Income and Extra       Certain Underwriters at Lloyd’s
Expense including Equipment Breakdown      Indian Harbor Insurance Company
                                           QBE Specialty Insurance Co
                                           Steadfast Insurance                                                   5/1/2016
                                           General Security Indemnity Company of Arizona                            to
                                           United Specialty Insurance Company                                    5/1/2017




                                                                                                                                                                            Doc 1145
                                           Lexington Insurance Company
                                           Princeton Excess & Surplus Lines Insurance Co
                                           International Insurance Company of Hannover through
                                           AmWins of Georgia, Inc.
Property, Electronic Data Processing       AmRisc panel of underwriters:                                                                            7,201                                                                     -
Equipment, Business Income and Extra       Certain Underwriters at Lloyd’s




                                                                                                                                                        Filed 04/15/20 Entered 04/15/20 11:10:22
Expense including Equipment Breakdown      Indian Harbor Insurance Company
                                           QBE Specialty Insurance Co
                                           Steadfast Insurance                                                   5/2/2017
                                           General Security Indemnity Company of Arizona                            to
                                           United Specialty Insurance Company                                    7/3/2017
                                           Lexington Insurance Company




                                                                                                                                                                   Pg 4 of 10
                                           Princeton Excess & Surplus Lines Insurance Co
                                           International Insurance Company of Hannover through
                                           AmWins of Georgia, Inc.
Equipment Floater & Rolling Stock          Alterra America Insurance Company through AmWins                      5/1/2016                          18,570                                           Annual                    -
                                           of Georgia, Inc.                                                         to
                                                                                                                 5/1/2017
Equipment Floater & Rolling Stock          Alterra America Insurance Company through AmWins                      5/2/2017                           1,679                                                                     -
                                           of Georgia, Inc.                                                         to
                                                                                                                 7/3/2017
Property Terrorism - 601 Poydras St only   Lloyd’s (Beazley manages Syndicates)                                  5/1/2016                           1,049                                           Annual                    -
                                           Syndicate 2623 82%                                                       to
                                           Syndicate 623 18%                                                     5/1/2017
Property Terrorism - 601 Poydras St only   Lloyd’s (Beazley manages Syndicates)                                  5/2/2017                             95                                                                      -
                                           Syndicate 2623 82%                                                       to
                                           Syndicate 623 18%                                                     7/3/2017




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Monthly Operating Report - Post Confirmation - Southern District of New York
Attachment 1
Reporting Period: March 2020

Confirmation of Insurance
               Coverage Type                                     Insurer                                      Policy Term                 Payment Amount                                          Frequency   Delinquency Amount

Auto Liability/Physical Damage            Sentinel Insurance Co Ltd (Hartford)                                  5/1/2016                          22,724                                           Annual                    -
                                                                                                                   to




                                                                                                                                                                           16-12220-smb
                                                                                                                5/1/2017
Auto Liability/Physical Damage            Sentinel Insurance Co Ltd (Hartford)                                  5/2/2017                           2,054                                                                     -
                                                                                                                   to
                                                                                                                7/3/2017
Cargo & MALFI trailers                    Underwriters at Lloyds of London through Southern                     5/1/2016                           6,600                                           Annual                    -
                                          Marine and Aviation                                                      to
                                                                                                                5/1/2017
Cargo & MALFI trailers                    Underwriters at Lloyds of London through Southern                     5/2/2017                            597                                                                      -




                                                                                                                                                                           Doc 1145
                                          Marine and Aviation                                                      to
                                                                                                                7/3/2017
Bumbershoot                               Pro Sight Specialty Insurance Co. (50%)                               5/1/2016                          85,500                                           Annual                    -
                                          Navigators Insurance Co. (50%)                                           to
                                                                                                                5/1/2017
Bumbershoot                               Pro Sight Specialty Insurance Co. (50%)                               5/2/2017                           7,730                                                                     -




                                                                                                                                                       Filed 04/15/20 Entered 04/15/20 11:10:22
                                          Navigators Insurance Co. (50%)                                           to
                                                                                                                7/3/2017
Marine General Liability                  Navigators Insurance Company                                          5/1/2016                          85,500                                           Annual                    -
                                                                                                                   to
                                                                                                                5/1/2017




                                                                                                                                                                  Pg 5 of 10
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Monthly Operating Report - Post Confirmation - Southern District of New York
Attachment 1
Reporting Period: March 2020

                                    Describe Pertinent Developments, Events, and Matters During this Reporting Period:

        On March 2, 2017, the Court entered the Findings of Fact, Conclusions of Law and Order Confirming First Amended Modified Joint Chapter 11
      Plan of Reorganization for International Shipholding Corporation and Its Affiliated Debtors [ECF No. 671] confirming the Debtors’ joint chapter 11
      plan of reorganization (the “Plan”). On July 3, 2017, the Debtors satisfied the conditions precedent to consummation of the Plan and the effective date
      of the Plan (the “Effective Date”) occurred [ECF No. 796]. On the Effective Date, the Debtors implemented the initial steps of the Plan, including
      payments to various interested parties and the funding of certain reserve accounts as further described in the Plan, and the “GUC Trust” was formed.
      On September 27, 2019, the Reorganized Debtors filed their most recent Post-Confirmation Status Report [ECF No. 1117]. The Reorganized Debtors
      and the GUC Trustee continue to work on various claims determination and resolution issues.

        Prior to the reporting period, on July 23 and 24, 2018, the GUC Trustee filed twenty (20) adversary proceedings against certain third parties for the
      avoidance and recovery of alleged preferential transfers pursuant to 11 U.S.C. § § 547 and 550. As of the filing of this report, the GUC Trustee has
      received default judgments for two such actions. The remaining actions have been settled or dismissed.

        Prior to the reporting period, the GUC Trustee filed the Motion of the GUC Trustee to Enforce the Plan and Confirmation Order With Respect to
      the Reorganized Debtors’ Responsibility to Defend Asbestos Claims, Relieving Stay and Injunction, and Approving the GUC Trustee’s Right Not to
      Defend Asbestos Claims [Docket 1047] (the “Asbestos Claims Motion”). The Court granted a request to continue the Asbestos Claims Motion and the
      Asbestos Claims Motion is currently set for hearing on May 7, 2020 [Docket No. 1138].

        On January 1, 2019, the Board of Trustees of the MEBA Pension Trust—Defined Benefit Plan, the Board of Trustees of the Masters, Mates & Pilots
      Pension Plan and the Board of Trustees of the Masters, Mates & Pilots Adjustable Pension Plan (the “Benefit Plans”) filed an adversary proceeding
      (Case No. 19-01006) against numerous defendants, including CG Railway, LLC (“CG Railway”), a non-debtor affiliate of Reorganized International
      Shipholding Corporation [Docket No. 1]. A pretrial conference in this adversary proceeding was held on April 9, 2019. On April 29, 2019, the court
      signed a stipulation governing the timeline for briefing and hearing on motions for summary judgment and adjourning discovery deadlines [Docket No.
      12]. On May 31, 2019, motions for summary judgment were filed by the Benefit Plans [Docket No. 14] and CG Railway [Docket No. 19]. On June 28,
      2019, responses to the motions for summary judgment were filed by the Benefit Plans [Docket No. 23] and CG Railway [Docket No. 26]. A hearing
      on the motions for summary judgment was held on October 3, 2019, and both motions were denied. The Court entered an order on December 4, 2019
      [Docket No. 39] scheduling the deadline for the end of discovery on April 10, 2020, the deadline for the parties to submit a pre-trial order on April 24,
      2020 and the final pre-trial conference for May 14, 2020. The Court entered an amended order on March 23, 2020 [Docket No. 42], scheduling
      deadline for the end of discovery on August 10, 2020 and leaving other relevant dates to be determined in light of the COVID-19 pandemic.

        The Court entered an order [Docket No. 1143] on March 5, 2020, extending the deadline under the Plan to object to certain claims through and
      including June 26, 2020.

      Estimated Date of Filing the Application for Final Decree: Third Quarter of 2020




                                                                                                                                                           ATCH-1C
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                                                                                                       Entity Name: International Shipholding Corporation (Consolidating)
                                                                                                                            Case Number: 16-12220
Monthly Operating Report - Post Confirmation - Southern District of New York
Attachment 2: Schedule of Receipts and Disbursements
Reporting Period: March 2020
Date of Plan Confirmation: March 2, 2017
Date of Emergence: July 3, 2017


                                                                                                                          Post Confirmation
Column1                                                                                            Quarterly 1                  Total
CASH (Beginning of Period)                                                                  $                      -     $     33,911,712.93
                                                                                                                                         -
Third Party INCOME or RECEIPTS during the Period                                                                   -          116,294,521.08
Intercompany INCOME or RECEIPTS during the Period                                                                  -          203,767,125.06




                                                                                                                                                                                                16-12220-smb
                                                                                                                                         -
DISBURSEMENTS                                                                                                                            -
  Operating Expenses (Fees/Taxes)                                                                                                        -
       U.S. Trustee Quarterly Fees2                                                                                -               114,675.54
       Federal Taxes                                                                                               -             3,271,317.96
       State Taxes                                                                                                 -               329,310.66
       Other Taxes                                                                                                 -               119,591.93
                                                                                                                                          -
    All Other Third Party Operating Expenses:                                                                      -            55,255,773.04
    All Other Intercompany Operating Expenses:                                                                     -           203,767,125.06




                                                                                                                                                                                                Doc 1145
                                                                                                                                          -
    Plan Payments:                                                                                                                        -
       Administrative Expense Claims                                                                               -             2,549,177.80
       DIP Claims                                                                                                  -             2,997,282.22
       Adequate Protection Claims and Interest Payments                                                            -             3,230,900.63
       Fee Claims                                                                                                  -             8,614,139.03
       Priority Tax Claims                                                                                         -               666,362.45




                                                                                                                                                                            Filed 04/15/20 Entered 04/15/20 11:10:22
      U.S. Trustee Fees2                                                                                           -                      -
      Class One - Other priority claims                                                                            -             5,181,841.54
      Class Two - Other secured claims                                                                             -                      -
      Class Three - Regions facility claims                                                                        -            38,941,607.55
      Class Four - Capital One facility claims                                                                     -             1,777,815.46
      Class Five - Citizens facility claims                                                                        -             8,317,940.86




                                                                                                                                                                                       Pg 7 of 10
      Class Six - DVB facility claims                                                                              -                      -
      Class Seven - General unsecured claims                                                                       -             3,017,988.02
      Class Eight - Intercompany claims                                                                            -                      -
      Class Nine - 510 Claims                                                                                      -                      -
      Class Ten - Interests in ISH                                                                                 -                      -
      Class Eleven - Intercompany interests                                                                        -                      -
    Total Plan Payments                                                                                            -            75,295,055.56
                                                                                                                                          -
Total Disbursements (Operating & Plan)                                                                             -           338,152,849.75
                                                                                                                                          -
Cash to be retained by SEACOR                                                                                      -            15,820,509.32
                                                                                                                                          -
CASH (End of Period)                                                                        $                      -     $                -

1
  Since September 30, 2019 and through March 31, 2020, there was no cash related to the estate in any bank accounts included in prior
Operating Reports. In addition, there were no cash transactions related to the estate in these accounts during the quarter ended March 31,
2020. All accounts and/or entities that no longer had cash of the estate at the beginning of the period or estate transactions for the period
covered by this report have been removed from this attachment.
2
  During the first quarter 2020, SEACOR paid US Trustee fees of $4,869 on behalf of the Debtors. Since September 30, 2019 Seacor has



                                                                                                                                                                                                Main Docum
paid cumulative US Trustee fees of $13,636 on behalf of the Debtors. These payments were made out of a SEACOR bank account and they
did not result in any changes to the cash balance of the estate.
                                                                                                                                                                                                                       ATCH-2A
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Monthly Operating Report - Southern District of New York
Attachment 2: Schedule of Receipts and Disbursements
Reporting Period: March 2020

Debtor Name                                               Account #      Total cash disbursements             Total cash disbursements per
                                                                         per MOR-1 (w/ Interco)                Attachment 2 (w/o Interco)
International Shipholding Corporation (16-12220)** Total                $                            -    $                                  -
N.W. Johnson & Co. Inc (16-12218)** Total                                                            -                                       -
Coastal Carriers, Inc. (16-12222)** Total                                                            -                                       -
U.S. United Ocean Services, LLC (16-12235)** Total                                                   -                                       -
Frascati Shops, Inc. (16-12226)** Total                                                              -                                       -
Waterman Steamship Corporation (16-12219)** Total                                                    -                                       -
Sulphur Carriers, Inc. (16-12233)** Total                                                            -                                       -
LMS Shipmanagement, Inc. (16-12229)** Total                                                          -                                       -
Central Gulf Lines, Inc. (16-12221)** Total                                                          -                                       -
Enterprise Ship Company, Inc. (16-12225)** Total                                                     -                                       -
LCI Shipholdings, Inc. (16-12228)** Total                                                            -                                       -
Marco Shipping Company (PTE) Ltd (16-12231)** Total                                                  -                                       -
Gulf South Shipping PTE Ltd (16-12227)** Total                                                       -                                       -
Mary Ann Hudson, LLC (16-12230)** Total                                                              -                                       -
Sheila McDevitt, LLC (16-12232)** Total                                                              -                                       -
Tower, LLC (16-12234)** Total                                                                        -                                       -
Grand Total                                                             $                            -    $                                  -

** These entities had no beginning or ending cash balance for the reporting period, nor any cash transactions during the reporting period.
Therefore, each is excluded from attachment 2A.




                                                                                                                                ATCH-2B Addendum
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                                                                                                          Entity Name: International Shipholding Corporation (Consolidating)
                                                                                                                               Case Number: 16-12220



Monthly Operating Report - Post Confirmation - Southern District of New York
Attachment 3: Bank Account Reconciliations - Bank Account Information
Reporting Period: March 2020


          Debtor Name                     Bank Name             Bank Account #                 Purpose of Account                   Type of       Bank Balance       Deposits in      Checks         Book Balance                                        Cash to be    Remaining Cash   Notes/ Comments
                                                                 (Last 4 Digits)                                                    Account                           Transit       Outstanding                                                          Retained by      in Estate
                                                                                                                                                                                                                                                           Seacor
                                                                                                                                                               -               -             -                             -                                     -                -
                                                                                                                                                               -               -             -                             -                                     -                -
                             Total                                                                                                               $             -     $         -    $        -     $                       -                             $       -     $          -




                                                                                                                                                                                                                                  16-12220-smb
Note: Since September 30, 2019 and through March 31, 2020, there was no cash related to the estate in any bank accounts included in prior Operating Reports. In addition, there were no cash transactions related to the estate in these accounts during the quarter ended
March 31, 2020. All accounts and/or entities that no longer had cash of the estate at the beginning of the period or estate transactions for the period covered by this report have been removed from this attachment.




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Monthly Operating Report - Post Confirmation - Southern District of New York
Attachment 3: Bank Account Reconciliations - Investment Account Information
Reporting Period: March 2020


Debtor Name                      Account #         Bank/Account Name/Number          Date of          Type of          Purchase Price      Current Value                                              Notes/Comments
                                 (Last 4 digits)                                     Purchase         Instrument


Not Applicable




                                                                                                                                                                               16-12220-smb
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